
ERDMANN, Judge
(concurring in the result):
I agree that any error made by the military judge in admitting Gorence’s mother’s speculative testimony about her son’s pre-service drug use was harmless. As to Issue I, in light of the lack of clarity in the military judge’s ruling, I cannot be certain how he considered the mother’s testimony, if at all. Consequently I cannot join in the majority’s conclusion that the Court of Criminal Appeals “found an alternative foundational basis for the rebuttal evidence considered by the military judge.” 61 M.J. at 174. However, in light of the fact that the Court of Criminal Appeals found no prejudice “even if we were to assume there was error,” I would affirm the decision below on that basis.
